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November 12, 2021
VIA ECF
Honorable John G. Koeltl 7, wie Lele fe wt Fee-Tatel

United States District Court

Southern District of New York C 4 Atlan. Cf beled! o ig | / Ar
500 Peari Street ‘

New York, NY 10007 Be Piles

Re: Angel Rivera v. City of New York et al.
No. 19-cv-00371 (JGK)

 

Your Honor:

I am the Senior Counsel assigned to represent defendants the City of New York,
Detective Anthony Romero, Detective Joseph Davin, Detective Jason Wolfenhaut, and Detective
Lahmar Sanders (“Defendants”) in the above-referenced matter. Defendants write to respectfully
request an extension of time to file the Proposed Jomt Pre-Trial Order, currently due on
November 29, 2021. This is the third request for an extension of time to file this document. This
request is made with Plaintiff's consent.

The primary reason for this request is that as of November 19, 2021, the undersigned will
be resigning from this office and this matter will need to be assigned to new defense counsel,
who will need time to become familiar with the case file herein. As the parties still wish to
continue settlement discussions prior to moving forward with further trial preparation in this
maiter, the requested extension will allow the new defense counsel to review this matter, to
continue efforts to resolve this matter, and to prepare a Proposed Joint Pre-Trial Order for for timely
submission.

 

 

The parties thank the Court for its time and attention to this matter.

Sincerely,

Jafhes Jimenc’
Senior Counsel

 
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Special Federal Litigation Division

ce: All Counsel (VIA ECF)

 
